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                                                   June 9, 2023

VIA: ECF

The Honorable Joanna Seybert
United States District Court Judge
Eastern District of New York
100 Federal Plaza, Courtroom 840
Central Islip, New York 11722

                   Re: U.S. v. George Anthony Devolder Santos, 23-CR-197(JS)(AYS)
                      Defendant’s motion seeking review and modification of Magistrate Judge
                      Shields’ order of release pursuant to 18 U.S.C. 3145(a)(2)

Dear Judge Seybert,

        Defendant respectfully moves pursuant to 18 U.S.C. 3145(a)(2) to seek review by the
District Court of the Order of the Honorable Magistrate Judge, Anne Y. Shields, dated June 6,
2023, at Dkt. No. 22, granting the motions filed by the New York Times Company (“The
Times”) at Dkt. No. 13, and ABC News, et al., (“News Organizations”) at Dkt. No. 14, seeking
to unseal the identities of our suretors, the related papers, and proceedings. For the following
reasons, Defendant requests that the Order be reversed and the motions denied in all respects.

       I.      Background

        The Honorable George Santos (“Rep. Santos”) is a duly elected member of the 118th
Congress, United States House of Representatives, representing New York’s Third
Congressional District, in Queens and Nassau Counties, within the Eastern District of New York.
As early as December 28, 2022, ABC News reported that “[f]ederal prosecutors have started
looking into public filings by congressman-elect George Santos, amid questions about the source
of his wealth, sources familiar with the matter told ABC News.” 1 Thereafter, on May 9, 2023, a
thirteen-count indictment, consisting of various financial crimes, that occurred before Rep.
Santos assumed office, and the arrest warrant, were filed under seal. See Dkt. Nos. 1 and 2. Id.



1
 Aaron Katersky, Luke Barr, and Soo Rin Kim, Prosecutors looking at George Santos amid lies, questions about
his wealth, December 28, 2022, 9:28 PM, https://abcnews.go.com/Politics/prosecutors-george-santos-amid-lies-
questions-wealth/story?id=95902176
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       On May 9, 2023, the government notified defense counsel of the indictment and arrest
warrant and allowed Rep. Santos to voluntarily return home from Washington D.C., so that Rep.
Santos could self-surrender to the Federal Bureau of Investigations (“FBI”) on the following
morning and then head back to the Capital to be present for Thursday’s session. (See Declaration
of Joseph W. Murray at Dkt. No. 17-1, par. 3). The government and defense counsel had also
been negotiating suitable terms and conditions of release to present to the Court, including,
among other things, a $500,000.00 unsecured appearance bond with three financially responsible
co-signors, as suretors. Id.

        Unfortunately, on May 9, 2023, shortly after the defense was notified of the indictment
and arrest warrant, this information was apparently leaked to the Cable News Network (“CNN”),
resulting in an immediate media frenzy. (Id. at par. 4). Also, at this time, defense counsel had
been in the process of engaging our suretors and presenting their documentation and contact
information to the government, in preparation for the arraignment on May 10, 2023. Id. As the
media frenzy progressively got worse our suretors grew very fearful and concerned. Id. As of the
morning of May 10, 2023, we only had two confirmed suretors, while our third suretor had a
change of heart and backed out. Id.

        On the morning of May 10, 2023, as the media began to amass outside of the Courthouse,
I received a call from AUSA Harris who kindly offered the services of our FBI case agents to
arrange for an alternative means for my client to enter the Courthouse. (Id. at par. 5). Ultimately,
Rep. Santos was arraigned before Judge Shields on Wednesday, May 10, 2023, and the Court
approved of our joint proposed conditions, including the $500,000.00 unsecured appearance
bond, which my client signed before being released. (Id. at par. 6). Thereafter, when our suretors
appeared in court, defense counsel moved to redact the names of the suertors and seal the
proceedings. (Id. at par. 4). The government took no position, and the application was granted by
Judge Shields.

    II.      The Motions to Unseal the Identity of the Suretors

        The Times and News Organizations filed letter motions essentially seeking an order
releasing the unredacted records identifying the bail suretors, and to unseal and make public the
bond proceedings, which are under seal. The motions asserted essentially two legal theories
justifying disclosure, (1) the common law right of access to judicial records, and (2) a qualified
First Amendment right of access. See Dkt Nos. 13 and 14.

    III.     Defendant’s Objection to Judge Shields’ Decision 2

       The Defendant is largely in agreement with the legal standard and legal analysis applied
by Judge Shields. In fact, I incorporate by reference herein the legal standard contained within
the Order at Dkt. No. 22. That withstanding, Defendant strongly objects to the great weight
afforded to the right of access of these judicial records, up against the countervailing factors at
issue with the suretors.


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 In that Judge Shield’s decision is under seal to protect the identity of the suretors from being disclosed, while this
matter is being reviewed by the Judge Seybert, the defendant will only cite to the legal basis of the decision.
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        Judge Shields’ Order granted the motions on behalf of The Times and News
Organizations by first determining that the documents revealing the identity of the Suretors are
judicial in nature. (See Order at p. 4, Dkt No. 22). The Defendant concedes the judicial nature of
the documents sought to be unsealed by the movants. In that the records being sought to be
unsealed are judicial in nature, Judge Shields logically concluded that they “fall within the
bounds of the common law presumption of access.” Id. Once again, the Defendant concedes that
these records fall under the common law presumptive right of access to judicial records. Judge
Shields analysis then turned towards the determination of what weight to apply to the
presumption of access of these judicial records. Id. Herein lies Defendant’s primary objection to
Judge Shields’ legal analysis.

A.     Weight afforded to the presumption as to these bond records

        Judge Shields determined that substantial weight should be afforded to these judicial
records. Id. In doing so, it is respectfully submitted, that Judge Shields misapprehended the
proper factual analysis that should have been conducted. First, Judge Shield’s identified concerns
pointed out by members of the press that “there is speculation that the Bond was signed by
lobbyists, donors or others seeking to exert influence.” Id. Judge Shields further pointed out that
“similar concerns are shared by members of the United States House of Representatives
Committee on Ethics” while citing to defense exhibit at Dkt. No. 17.6. (Order at pp. 4-5, Dkt.
No. 22). Here, it is important to note that the Defendant addressed this specific concern raised by
the press, within paragraph 11 of the Declaration of Joseph W. Murray (Dkt. No. 17.1), which
reads as follows. “Exhibits J and K are a May 16, 2023 letter from the House Ethics Committee
and my letter in response. I include these two exhibits to address an issue raised by The Times
about the impropriety of the suretors pursuant to House Rules.” Id. Apparently, Judge Shields
either reviewed Dkt. No. 17.6, without also reviewing Dkt. No. 17.7, or that Judge Shields
simply misapprehended the significance of the combination of these two exhibits when read
together.

        Yes, Judge Shields is correct that “the Committee seeks to be advised of the identity of
the Suretors to determine whether the posting of bond constitutes an improper gift to Defendant.”
(Order at p. 5, Dkt. No. 22). However, the Committee on Ethics also requested that Defendant
“[i]nform the Committee of any exceptions to the Gift Rule (House Rule XXV, clause 5) that
[he] believe[s] may apply to the sureties.” (Dkt. No. 17.6, at par. 3). Turning to Defendant’s
response at Dkt. No. 17.7, consider the following taken from Defendant’s response:

               That withstanding, and in the abundance of caution, and in keeping
               with Congressman Santos’ full cooperation, I respectfully submit
               to you that upon my review of the Rules of the House of
               Representatives of the One-Hundred Eighteenth Congress, I firmly
               believe that Congressman Santos has conducted himself honorably,
               lawfully, and ethically in keeping with the good order and finest
               traditions of an honorable member of the United States House of
               Representatives, in the manner in which the suretors who cosigned
               the unsecured $500,000.00 appearance bond, under oath in court
               were engaged.

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               Although I am unable to reveal the identity of the suretors, due to
               the Court sealing the proceedings, I direct your attention to Rules
               of the House of Representatives, 118th Cong., Rule XXV, cl.
               5(a)(2)(A)(2023),which defines “gift” as “a gratuity, favor,
               discount, entertainment, hospitality, loan, forbearance, or other
               item having monetary value. The term includes gifts of services,
               training, transportation, lodging, and meals, whether provided in
               kind, by purchase of a ticket, payment in advance, or
               reimbursement after the expense has been incurred.” Under this
               definition the surety co-signor of an unsecured appearance bond
               may be considered a “favor” or “other item having monetary
               value.” Id.

               Turning to Rule XXV, cl. 5(a)(3)(C)(2023) which provides that
               “[t]he restrictions in subparagraph (1) do not apply to the
               following: [...] “[a] gift from a relative as described in section
               109(16) of title I of the Ethics in Government Act of 1978 (5
               U.S.C. App. 109(16)).” Id. Finally, the term “relative” is defined in
               section 109(16) of title I of the Ethics in Government Act of 1978
               (5 U.S.C. App. 109(16)) as “relative’ means an individual who is
               related to the reporting individual, as father, mother, son, daughter,
               brother, sister, uncle, aunt, great aunt, great uncle, first cousin,
               nephew, niece, husband, wife, grandfather, grandmother, grandson,
               granddaughter, father-in-law, mother-in-law, son-in-law, daughter-
               in-law, brother-in-law, sister-in-law, stepfather, stepmother,
               stepson, stepdaughter, stepbrother, stepsister, half brother, half
               sister, or who is the grandfather or grandmother of the spouse of
               the reporting individual, and shall be deemed to include the fiance
               or fiancee of the reporting individual.” Id.

        While it would have been improper to reveal the identities of the sureties to the
Committee on Ethics, Defendant’s counsel believed that it was ethical and proper to directly
respond to the Committee’s request that Defendant “[i]nform the Committee of any exceptions to
the Gift Rule (House Rule XXV, clause 5) that [he] believe[s] may apply to the sureties.” (Dkt.
No. 17.6, at par. 3). In doing so, within Defendant’s response to the Committee on Ethics, which
was publicly filed as an exhibit (Dkt. No. 17.7) to the Declaration of Joseph W. Murray, sworn
under penalty of perjury, Defendant has essentially publicly revealed that the suretors are family
members and not lobbyists, donors or others seeking to exert influence over the Defendant.
Contrary to Judge Shield’s assertion that, [t]here is no way to quell such speculation and foster
confidence in the judicial process but to reveal the identities of the Suretors” (Order at p. 5, Dkt.
No. 22), the Defendant offers up a more palatable remedy that satisfies the interests of both
sides. As this Court, the public, and the press can plainly see from Dkt. No. 17.7, that family
members are exempt from the prohibitions on gifts to members of Congress. To the extent that it
may be possible to unredact a portion of the sealed judicial bond records or proceedings to reveal
the existence of a “family” relationship between Defendant and suretors without identifying the
name or type of family member, Defendant would have no objection.

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          The weight of the presumption pertaining to bond records and proceedings, should be
further diminished by additional factors. First, “the accused is shielded by the presumption of
innocence…” Betterman v. Montana, 578 U.S. 437, 442 (2016), quoting, Reed v. Ross, 468 U.S.
1, 4 (1984). Moreover, “in our society liberty is the norm, and detention prior to trial or without
trial is the carefully limited exception.” United States v. Salerno, 481 U.S. 739, 751 (1987). It
logically follows that where pretrial release is common and the norm, the right of access to
bail/bond records and proceedings is less weighty than in the rare exception where detention is
ordered.

B.     The weight afforded to countervailing factors

         After establishing the weight of the presumption Judge Shields then considered the
weight of only one countervailing factor, the “privacy interests of those risking disclosure.”
Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 120 (2d Cir. 2006)(Order at p. 5, Dkt. No.
22). It is respectfully submitted that the court failed to perceive the importance of the privacy
issues of these suretors, as well as other factors contributing to the weight against disclosure.

        As indicated within Defendant’s initial response at Dkt. No. 17, this case has quickly
become what the Second Circuit describes as a “heater case”. Fiedman v. Rehal, 618 F.3d 142,
157-158 (2d Cir 2010). The Court explained that “this was a ‘heater case’ –the type of ‘high
profile case’ in which tremendous emotion is generated by the public.” Friedman v Rehal, 618
F3d 142, 158 (2d Cir 2010); quoting, Susan Bandes, The Lessons of Capturing the Friedmans:
Moral Panic, Institutional Denial and Due Process, 3 Law Culture & Human. 293, 310 (2007)
(noting that the accusations against Arnold and Jesse Friedman arose at “a time at which concern
about day care sexual abuse had reached a fever pitch both in the United States and abroad”).
The Second Circuit continued to explain that “[i]n heater cases, the criminal process often fails:
Emotions like fear, outrage, anger and disgust, in situations like these, are entirely human. The
question is what the legal system can do to correct for the excesses to which they lead. The crux
of the moral panic dynamic is that the legal system, in such cases, does not correct for them. It
gets swept up in them instead. Fiedman, at 158, quoting, Bandes at 312.

         Defendant made several relevant factual points about the media frenzy and hateful attacks
that Defendant, his staff and even your undersigned have been subjected to. See Dkt. Nos. 17.1-
17.5. These attacks have been extremely angry, anti-gay, anti-Republican and all around anti-
social. Id. Moreover, even the government recognizes the unique and potentially
dangerous/harassing environment that Defendant has been subjected to in that the government
was so kind to offer assistance for Defendant entering the courthouse on May 10, 2023, by
avoiding the mass of media that had appeared at the courthouse. Id. It is reasonable to conclude
that if Defendant’s suretors are identified, that the attacks and harassment will commence against
them too. Moreover, given the political temperature in this Country and acts of political violence
that occur, the privacy interests of these suretors are far more concerning, especially considering
their ages and respective employment.

        Further, that soon after the apparent leak from the Department of Justice about the
impending arrest of Defendant on the indictment to someone at the Cable News Network
(“CNN”), caused an immediate media frenzy just as defense counsel was attempting to engage
the agreed upon three financially responsible suretors. The resulting media frenzy, greatly
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contributed to our third prospective suretor having a change of heart and withdrawing. There is
great concern for the health, safety, and well-being of our two suretors, which sadly, was not
shared by Judge Shields, at least as a factor of their privacy concerns.

C.     The danger of impairing law enforcement or judicial efficiency

        Another countervailing factor to strongly consider is “the danger of impairing law
enforcement or judicial efficiency.” Lugosch v Pyramid Co. of Onondaga, 435 F3d 110, 120 (2d
Cir 2006). As Judge Shields appropriately discussed, “[a]s is common in cases where there is
neither property nor cash offered to secure a bond, the Court considered whether the Suretors
were truly willing to stand up and make themselves responsible for Defendant's compliance with
the terms of his release. The Court also inquired about their ties to this District and employment.
Having made such inquiry, the Court was satisfied that the Suretors had discussed this matter
with the Defendant, and that they maintained sufficient personal contact with him to make
themselves aware of his conduct.” (Dkt. No. 22, at p. 4).This was obviously because sueretors
perform a vital law enforcement and judicial function in that the suretors are, in essence, the first
line of enforcement and/or monitoring of the Defendant’s conduct, location, and compliance
with the conditions of Defendant’s release. In fact, such admonitions may have been made by
Judge Shields to the suretors. Obviously, given the media frenzy and resulting harassment, that
will almost certainly come if the identities of the suretors are released to the public, this will
inhibit the suretors from being able to do their job.

D.     Defendant’s Eighth Amendment right

        Lastly, and briefly, Defendant is protected under the Eighth Amendment against
“excessive bail.” U.S. Const. amend. VIII. This does not mean that Defendant has an absolute
right to be released on bail following an arrest. United States v. Salerno, 481 U.S. 739, 749
(1987). In the aftermath of the initial media frenzy that resulted after the apparent leak to CNN,
one of Defendant’s suretors withdrew. It is very likely that if the suretor’s identities are released,
that Defendant and the suretors will mutually decide that they shall have to withdraw from,
serving as suretors. In that Defendant may be subject to more onerous conditions of release or
may be subject to pretrial detention, presents as a potential countervailing factor to consider up
against either the common law right of access to judicial records or the qualified First
Amendment right to access.

       Wherefore, Defendant respectfully requests this Court to review the prior Order of Judge
Shields, de novo, and deny the motions to unseal by these various media companies:
       a. To the extent that it may be possible to unredact a portion of the sealed judicial bond
           records or proceedings to reveal the existence of a “family” relationship between
           Defendant and the suretors without identifying the name or type of family member,
           Defendant would have no objection.

                                                        Respectfully,


                                                        Joseph W. Murray, Esq.
Cc: All parties via ECF
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